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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                               Case No. 10-cr-80-02/03/04/05-SM

Anthony Scott, Ashley Scala,
Gary Patch and Maria Valdez



                                     ORDER

        The defendant Gary Patch, through counsel, has moved to continue the trial

scheduled for October 19, 2010 for a period of 60 days, citing a conflict with a

previously scheduled homicide trial in the Hillsborough County Superior Court. Co-

defendants do not object, nor does the government object to a continuance of the trial

date.

        Accordingly, for the above reasons, the court will continue the trial from

October 19, 2010 to January 19, 2011. In agreeing to continue the trial, the court

finds pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the best interests of the
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public and the defendants in a speedy trial. The defendant shall file a waiver of

speedy trial not later than September 24, 2010.

      Final Pretrial Conference:       January 7, 2011 at 1:30 PM

      Jury Selection:                  January 19, 2011 at 9:30 AM

      SO ORDERED.



September 24, 2010                     _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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